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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                                    )
MONTANA HEALTH CO-OP,                               )
                                                    )
                       Plaintiff,                   )
                                                    )
                                                         Case No. 19-568C
        v.                                          )
                                                    )
                                                         Chief Judge Kaplan
THE UNITED STATES,                                  )
                                                    )
                       Defendant.                   )
                                                    )
                                                    )
                                                    )


                                    JOINT STATUS REPORT

        Pursuant to the Court’s August 28, 2023 order, the parties respectfully submit this joint

status report.

        As stated in the parties’ previous joint status report, counsel for the parties have

continued to engage in productive settlement negotiations regarding this and other cost-sharing

reduction (CSR) cases currently pending before this Court. The parties most recently exchanged

letters on September 7 and September 19. In light of those communications, the parties believe

that they have reached a tentative agreement in principle on a methodology by which the parties

can settle some of these CSR cases. This methodology must, however, be approved by officials

at both the Department of Health and Human Services and the Department of Justice. In

addition, the parties will need to gather relevant data from plaintiff-insurers from past benefit

years in order to calculate whether damages may be owed to a given insurer for a given year.

The Centers for Medicare and Medicaid Services is currently preparing a process for plaintiff

insurers to submit relevant CSR data. Once that data is gathered and analyzed, plaintiffs will
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have the option of participating in the proposed settlement process or continuing instead with

litigation.

        Both the approval process and data gathering and analysis will take time. We thus

respectfully request that the court continue the stay in this case for 60 days, until Tuesday,

November 28, 2023, at which time the parties propose updating the Court regarding the status of

the settlement process.

 September 29, 2023                                       Respectfully submitted,

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